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 I




                         UNITED STATES DISTRICT COURT

                            DISTRICT OF NEW MEXICO                   FILED
                                                         UNITED STATES DISTRICT COURT
                                                          ALBUQi.,'ENQUE, NEW MEXICO

     Emma Serna    and          )                                    JULt02020,f'jto  ',.,
                                                          ''::

     Mike Serna,                                                 MITCHELL R. ELFERS
                            )
                                                                       CLEHK t'n'r
 Plaintiffs,                )
                                                       e.o c.v        GD\     KP.S
 V.
                            )

William Cooksey             )

DanielWhite,                )

David Webster and           )

Margette Webster,           )

Defendants.                 )




            COMPLAINT FOR MISREPRESENTATIONS, VOID JUDGMENT

DECEPTIVE DEALINGS, NONCONSENSUAL LIEN & LIS PENDENS,

            UNJUST ENRICHMENT, AND INJUNCTIVE RELIEF



coMES Now, the PLATNTIFFS EMMA SERNA and MIKE SERNA and aileges

and complains as follows:
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JURISDICTION:


Subject matter jurisdiction.

Personal Jurisdiction.

Supplemental Jurisdiction.

(1 Freeman on Judgments, 120c).

Conflict of interest between Second Judicial District Court Judges and the
Plaintiff.

Article 6, Right to a fair trial.

Fundamental Human Rights of 1(M8, Universal Declaration of Human Rights.

I U.S. Code 4 failure to arbitrate under the contract agreement.
49 U.S.C. 46301 Unfair and Deceptive dealings.

4 of the Defamation Act 2013.

ssR 79-4: SECTION 207, 452 (b), 459 and 462 (f) (42 U.S.C.4A7,652 (b),
and 662 (0 Levy and Garnishment of social security Benefits.
Payments shall not be subject to execution, levy, attachment, garnishment,
or other legal process or insolvency law.

Violation of a federal statute.

28 U.S.C. 1331 Original Jurisdiction.

28 U.S.C. 1367.
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Plaintiffs:

Emma Serna, is an individualwho resides in the County of Bernalillo, and the
City of Albuquerque, New Mexico, and is a citizen of the United States.
P.O. Box 65384
Albuquerque, NM 87193
(505)321-1661

Mike Serna, is an individualwho resides in the County of Bernalillo, and the
City of Albuquerque, New Mexico, and is a citizen of the United States.
P.O. Box 65384
Albuquerque, NM 87193
(505)321-1661



Defendants:

William Cooksey is being sued individually, and in his capacity as an attorney
who is licensed ln New Mexico. He is a citizen of the United States, and resides
in the County of Bernalillo, and the city of Albuquerque, New Mexico
2A40 4th St., N.W.
Albuquerque, NM 87
(505\243-6721

DanielWhite, is being sued in his capacity as an individual, and as an attorney,
and licensed to practice in New Mexico, and as of February, 202A is d/b/a an
LLC. He is a citizen of the United States, and resides in Albuquerque, New
Mexico.
1122 Central Ave., S.W.
Suite 1
Albuquerque, NM 87102
(505)433-30e7

 David Webster, in his capacity as an individualwho resides in the County of
 Bernalillo, and City of Albuquerque, New Mexico. He is a citizen of the United
 States.
 8719 Tierra Alegre Dr., N.E.
 Albuquerque, New Mexico 87122
 (505)822-9072
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Margette Webster, is being in her capacity as an individual, and resides in the
Cou-nty of Bernalilio, and the City of Albuquerque, New Mexico, and is a citizen of
the United States.
8719 Tierra Alegre Dr., N.E.
Albuquerque, NM 87122
(505\822-e072
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                          INTRODUCTION


   On April, 2019, Margette and David Webster, through their attorney, Daniel

White, filed a civil lawsuit in state district court, against Mike Serna and Emma

Serna, individually, and Emma Serna, as trustee of the Mike R. Serna

lrrevocable Living Trust. The Mike R. Serna lrrevocable Living Trust owns

all assets of Mike Serna and Emma Serna. The Websters sued to foreclose

on the "lrrevocable Living Trust Property, but they don't understand or refuse

to understand that the lrrevocable Living Trust will not be a party to any lawsuit.

The Plaintiff motioned the judge to dismiss the case because the Websters want

to foreclose on a property that is owned by the "lrrevocable Trust, and with a

"Void" judgment, and this state court refuses to sign an Order that states the

Judgment is "Void".


Margette Webster has caused grave harm, and has injured the Plaintiffs with

misrepresentations.

                               Count 1
                        MISREPRESENTATIONS

     Defendant Margette Webster has misrepresented hersetf as being
     "Margaret Webster', a person that was never a party member to any
     lawsuit, and does not exist. Margette misrepresented herself to Ms.
     Serna's bank, BBVA Compass Bank, in order to take Mike Serna's,
     and Emma Serna's Social Security. She took Ms. Sema's inheritance
     and knowingly and willfully made false statements or/and representations
     for the benefit of obtaining a benefit or payment under chapter, 33 U.S.
     Code 931. These violations were enabled by Attorney William Cooksey
     who vouched for Margette Webster that she was "Margaret Webstef'
     in order for Compass Bank to release the funds to Margette. David
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 Webster also sued and said Margetre was Margaret, for the sole purpose
 that Compass Bank would give Margette Serna's money. William
 Cooksey, David Webster, and Margette Webster knew the falsity of the
 statement at the time or were reckless in making the statement. All
 knew that Margette's name has never been Margaret, but the chance
 of deceiving the bank, and that Margette had a judgment against Emma
 Serna, they allwere aware that what they were doing was fraud. All
 three enjoyed unjust enrichment with the representations they were
 making to the bank. Margette knew that allthe Defendants intended
 to deceive the Plaintiff out of her money, located at BBVA Compass
  Bank. Margette wrote up her own writ of garnishment, and knew if she
  hand wrote alkla Margette Webster next to Margaret Websters name
 she could deceive the bank, and Attorney Cooksey would verbally
 vouch for her, therefore they did not ask her for her 1.D., driver's
  license, birth certificate. Attorney Cooksey is Compass bank's attorney.
  Federal Rule of Civil Procedure 9 (b) requires that "[i]n alleging fraud or
  mistake, a party must state with particularity the circumstances
 constituting fraud or mistake. Malice, intent, knowledge, and other
 conditions of a person's mind may be alleged generally, and the Webster's
  mind is in a state of malice. For a person to file suit against
 the Plaintiff with the desire of forclosing on a home that is owned by
 an lrrevocable Trust, and files a Lis Penden, on the property, and the
 property nor the lrrevocable Trust ever did any wrong to the Defendants.
 Their frame of mind has to be in a very immoral and otherwise wrongful
 state of conduct. Knight v. E.F. Hutton and Co., lnc., 750 F. Supp. 1109,
  1 1 14 (M.D. l eeo).




                              Count ll
                           VOID JUDGMENT

1.   The judgmenUaward and why it is "Void". The first arbitration was
     according to the contract with AAA, and Margette and David chose not
     to attend. They defaulted. The second arbitration was court-annexed,
     and Serna did not attend because there was a mandate for the Serna's
     granted summary judgment, and the judgment had not been signed, and
     the arbitrator knew only a court judge could sign the judgment. The first
     arbitrator did not write a judgment up, but the second arbitrator wrote a
     a judgment to a "Margaret Webster and against a Emma Serna dlbla
     Serna & Associates, LLC. A company that Emma Serna does not own,
     and it is a limited liability company. The award{udgment does not say,
     Emma Serna, individually, it says doing business as. The Defendants
     had (90) days to correct or modifo the award, and they chose not to.
     Now (5) years later, they want to use this "Void' award to foreclose on
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 property that belongs to an "lrrevocable Trusf'!
 The Supreme Court Order no. 0B-830A-Z}, dated Nov. 3, 2009, no. 7,
 a lawyer has a legal responsibility not to abuse the position of a trustee.
 Attorney white, in his voluminous filed pleadings, was trying to force the
 Court to make the trustee disclose the benefactor's personal information.
 A trustee will not breach the fiduciary duty of loyalty to the beneficiaries.
 A void judgment does not create any binding obligation.
 Federal decision addressing void state court judgments. Case: Kalb v.
 Feuerstein (1940) 308 US 433,60 S CT 349,84 L ed 370; Ex parte
 Rowland (1882) 104 U.S,604,26 L.Ed.8O1.

 A void judgment is not entitled to the respect accorded a valid
 Adjudication, but may be entirely disregarded. lt has no legal or binding
 force or efficacy for any purpose or at efficacy for any purpose or at ani
 place. The rules and regulations of an arbitration calr for (g0) days, and
 once the award is adopted as is, it is not entifled to enforcement. The
  award was given in 2015, the summary judgment was granted in 2009,
  and the mandate was issued in 2a14, therefore a void award{udgment
  all proceedings founded on the void judgment are themselves regarded
  as invalid. 30A Jur judgments "44, 45". A arbitration award has one
  year to enforce collection.

  DanielWhite agreed with the Plaintiff, in the first hearing in state district
  court, then when the stenographer wrote up the minutes of the hearing,
  she left out Attorney white saying, that the award is void. As of today,
  he says that the award is not void. The Plaintiff proved that that the
  award is void. This attorney has lied to the judge, and has shown
  candor towards the tribunal, and has refused to correct his misrepre-
  sentations.



                             couNT    ut
                     DECEPTIVE DEALINGS

 ORDER TO INCLUDE EMMA SERNA into tawsuit:

 Emma Serna filed a lawsuit, in state district court after Margette Webster
 filed her lawsuit against Emma serna dlbla serna & Associates, LLC.
 in 2017, Attorney Cooksey motioned for a hearing, in state court in front
 of Judge Nash, and he had wriften a "&" in Emma Serna's case, so the
 court could include Emma Serna, individually into the old lawsuit. This

 was (10) years after the lawsuit was filed, and (2) years after the award
 was issued. Judge Nash said, Emma serna is included in the judgment.
 this was an arbitration award{udgment, and the (90) days were up for
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         any changes, back.in zo1_a. The judge ruled even though she
                                                                           was in a
         pending lawsuit with the plaintiff. This made her ruling
                                                                   null and void.
         fttglnev cooksey was dealing with deceptive.&" deatingi,
                                                               -not
                                                                    and the award
         had been adopted back in zoas. The added         did       have initials or
         was there ever a motion.to change the lawsuit. ln 2ol7,Attorney
         cooksey ordered a hearing to make the change, and add Emmisern"
         lnto the judgment.




                                       COUNT IV

                    NONCONSENSUAL LIEN AND LIS PENDENS


New Mexico statutes chapter 48, Liens 4g-1A-s, Non-enforceability
                                                                      of non-
consensualcommon law liens. Nonconsensual common law tiens lgainst
leal ProRerty shall not be recognized or be enforceable. At the time t[e lien
is claimed. Governed by statute 33-911(c) a person who has defenses
                                                                           or
objections to a properly noticed sale has one avenue for challenging
                                                                       the sale:
filing for injunctive relief.


                                    COUNT V

                           UNJUST ENRICHMENT


Margette and David Webster now have a total of $12g,5gg of Serna,s
                                                                     money
taken illegally or by mistake.
   1- Used a false writ of garnishment to come onto the lrrevocable Trust
   qroRe{v using 60-70 deputies, and used guns and clubs to force the
   Serna Party to give them $20.000.00. Mo-ney borrowed against the Trust
   Property.

  2. Had Defendant gooksey tell BBVA compass Bank to give Margette
  webster the Plaintiffs social security, and Emma,s inherifanc" ,o},ey.
  Respectively, $5,000.00 S.S., and $,i0,S9g.00 inheritance. OaviJ anO
  Margette used a writ of garnishment to eollect this money from the
  Plaintiffs' bank account.

  3.  Defendant Margette Webster never paid her balance on the construction
  Contract of $5,100.00, "change orders', ihat she signed for, and has enjoyed
  without objections. The amount now due is approiimately 9g4,000.00 due
  since May 21,2004.
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                             COUNT VI

                       INJUNCTIVE RELIEF


The Plaintiffs "Object" to all the deceptive dealings of the Defendants, and
Attempting to foreclose on the home owned by the Mike R. Serna lrrevocable
Living Trust. They have caused irreparable damage to our livelihood.
Caused undue harm, and have injured the Plaintiffs tremendously with their
False and deceptive actions. Losses attained:
1. Social Security used monthly to maintain the household expenses, and
Good credit. The Plaintiff had to bonow money for those two months.
2. lnheritance money, to finish paying for Ms. Serna's dad's funeral
    expenses. Funds to pay for Ms. Serna's future funeral expenses.
3. The construction company had to borrow money to pay the sub-
    contractors, and the supplies used in Webstefs home.
4. The sheriffs collection department forcing themselves into the Plaintiffs
    Home, before 8 A.M. and demanding all the furnishings, and or money,
    And laughing, because if the Plaintiffs weren't home the deputies were
    Going to break down the door. 60-70 men outside the home with guns,
    And clubs, and they treated us worst than convicts. They did not even
    Have a valid judgment to assert such actions, and a writ written by a
    Judge who had a lawsuit pending against her by the Plaintiff.
5. Obiection to the Sale of any of the lrrevocable Trust Property as the Trust
    ls not a party member to any lawsuit.
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                        RELIEF ON COUNT        I


The Defendants have made so many misrepresentations to so many people,

businesses, courts of law, that the damages are permanent, and the

penalty of $10,000.00 and imprisonment of no more than (5) years is a

small price for these defendants to pay.

Defendant Attorney White filing a complaint to foreclose on the Trust property

Without a judgment or the Plaintiffs ever owning any money to the Websters.

Presenting to the tribunala arbitration award that has so many errors and

Trying to pass this (5) year old award that is invalid to foreclose on property

That has done no wrong doing to the Defendants.


                             RELIEF ON COUNT        II

The Defendants omitted all the facts of the Arbitration award/judgment that

the courts erred in not issuing an order that declared the awardliudgment

"Void", and the Defendants capitalized on the obvious mistakes on the award.

this is where the Defendants displayed their knowledge of recklessness, and

an intent to deceive or induce reliance. Fraud has been committed.

This invalid .Void' award/judgment has been the source of all the abuse, and

Conuption caused by the Defendants. This Arbitration Award has to have an

Order, entered into the courts that it is Void", and state district court will not

Sign such an order, because the state court has taken a bias side.
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                          RELIEF ON COUNT III

                         DECEPTIVE DEALINGS


 when a bank aftorney, such as Attorney william cooksey, presents
                                                                  an
 altered incorrect writ of garnishment to the bank that emproyees
                                                                  him, and
 trust him, this speaks loudly of his character, and his dealings against

 the bank that feeds him, and that he herps out any person that is
                                                                   wi[ing
 to give him payment for his deceptive dealings. Regardless
                                                            of who he
 hurts. The Plaintiffs suffered damages at Attorney Cookseys actions
                                                                     when
 he improperly presented the writ of garnishment, that was made
                                                                out to a
 "Margaret webster', a non-party member, and no proper
                                                       identification from
Margette webster that proved she was "Margaret webster,,.

Relief should include an Order issued to BBVA Compass Bank
                                                           to return all
of the Plaintiffs money, social security and inheritance money
                                                                  @ 1g%
interest, and retief of not less than $300,000.00 for the unjust
                                                                 treatment,
and have the bank's collection department retrieve the money they paid

out to David and Margette webster either by mistake or fraudulenfly.

Defendant Attorney cooksey for inducing or othenrise through
                                                             improper
motives should compensate the Plaintiff for suffered damages a
                                                               total of
$400,000.00, for violating the social security Act and inheritance law,

and fraud.
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                          RELIEF ON COUNT IV
                    NONCONSENSUAL LIEN AND LIS PENDENS



 Relief from Defendants' Daniel White, David Webster, and Margette
                                                                   Webster
 for filing a lien, and a Lis Pendens on property owned by the "lrrevocable
                                                                            Trust,,,

 and filed with malice intent. The title has been clouded, and the value
                                                                         reduced
 and Defendants have relied on fraud with false representations. The statements

 of the award are false and/or misleading in that there was never ,,Margaret
                                                                 a
 Webster" as a party member to either lawsuits, and this is a legal
                                                                    document in
 which, even metro court, will only approve judgments with the legal names.

 Defendant Attorney Daniel White is demonstrating candor towards the
                                                                     tribunal
 by entering a judgment that is made out to a 'Margaret webste/,, and
                                                                      Margette
 Webster hand wrote "alUa Margette Webster       in.   Both Defendants White and

 Margette webster have induced fraud into the courts, and committed
                                                                    a
misrepresentation of fact, and either had the knowledge of the falsity
                                                                       of the
representation or recklessness of their actions.

Relief requirements on this count should be expungement of lien
                                                                and release
of Lis Pendens on all of the Mike R. Sema trrevocable Living Trust, and
                                                                        the
Defendants should have never sued Mike R. serna, because in lawsuit

2007-06641 the courts had found that Mike serna had nothing to
                                                               do with
David or Margette Webster ever, and he had been dismissed from
                                                               that else.
The damages that each one of the Defendants should face is
                                                           $400,000.00 each
for slander of ritle, Malice, pubrication, writ of garnishment, and
                                                                    writ
of execution, punitive damages, and any other this court sees right and proper.
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                        RELIEF ON COUNT V

                       UNJUST ENRICHMENT


David and Margette Webster have lined their pockets at the Plaintiffs expense,

and there was no justifiable reason for the injury.

Relief is needed in an Order to the Bernalillo Sheriffs Collection Department to

return the Plaintiffs $20,000.00 at 18o/o, and for that department to collect the

money from David and Margette Webster. The Plaintiffs have been paying on

this mortgage since May 17, 2017, and this was done with a lack of good faith

or probable cause to vex and injure the Plaintiffs.

! ask the courts to see if this falls under their guidelines, and if not foreclosure on

the properties of David and Margette Webster would satisfy the Plaintiffs loss,

and dissolve the Defendants displayed hatred and illwill.




                                  COUNT VI

                            INJUNCTIVE RELIEF


The Plaintiffs hereby request injunctive relief for their "Objection to the Sale

of the Mike R. Serna lrrevocable living Trust" properties. The Defendants filed

a frivolous lawsuit, and state court has seen the discovery, but has not acted

with propet c?r€r
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                             CONSLUSION




I Pray this court sees that state court has been bias or mistakenly

made several reckless statements, and the Defendants have relied on those

reckless statements. The Defendant attorneys have made candor remarks,

and statements to the tribunal, and there is no way afair trialwill be achieved.

NMRA 16-303. These Defendants refuse to change their statements even

after they have reviewed the facts and laws. A fair trial will not be had in

state district court, and the State Supreme Court has filed an order that judges

can not be recused until the Covid 19 virus is under control.

Rule 64 seizing property, attachment U.S.C Title 28 Attachment provided by

state Law. The Plaintiffs allege knowledge of fraud, and has specified the intent

The Plaintiffs deserve restitution from the Defendants, and any other relief

this court deems right and proper.

                                     Respectfully subm ifted,




                                                   and Mike Serna, Pro Se

                                     Albuquerque, New Mexico 87193
                                     (505)321-1661
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AUTHORITIES:


 18 U.S Code 1001 false statements.
Violation of Federal Rute 60 (b)
Violation of the sociat securiiy'Act of 193s 42 u.s.c.
                                                        chapter 7
violation of 2006 New Mexicosection 4g-1A-1to 4g-1A_g
                                                             NMSA
Lien Protection Efficiency Act.
flgyfnfor9gglitity   of nonconsensuat common Iaw tiens.
Violation of N.M. Stat. Ann. 4S-1A-9(C)
Violation of rifle 28, section 3s1, u b.b. Deceptive
                                                     Dearings
28 U.S. Code 1391 Right to a fjir Trial
American Convention on Human Rights Article 3, g, g
                                                        & 10
wiiliams v. steward, 1 37 N. M. 420,i2g, 112 p 3:d zat
A party can recover damages proximatery causeo          , zga ct. App.
                                                    oi tn" fraud. rd.
NW credit corp. v. Rephon Electronics, lnc., rss i.n.o.
                                                            690, 692.
Bailey v. Linsco/private Ledger corp. 136 F.i.D.
                                                   tl, iqn. 4 (D Me. 1991)
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